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                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH


    UNITED STATES OF AMERICA,                               MEMORANDUM DECISION AND
                                                            ORDER DENYING IN PART AND
                              Plaintiff,                    GRANTING IN PART MOTION
                                                            FOR COMPASSIONATE RELEASE
    v.                                                      AND
                                                            GRANTING MOTION TO WITHDRAW
    TROY CABIBI,                                            AS COUNSEL FOR DEFENDANT

                              Defendant.                    Case No. 2:10-cr-01024-DN

                                                            District Judge David Nuffer


           Defendant Troy Cabibi seeks compassionate release or a reduced sentence (“Motion”)

based on the conditions caused by the COVID-19 pandemic, his family circumstances, and

because he was not given time credit or concurrent sentencing for a state court sentence. 1 The

government and the United States Probation Office oppose Mr. Cabibi’s Motion. 2

           Because Mr. Cabibi fails to demonstrate extraordinary and compelling reasons to warrant

his immediate release and the relevant factors of 18 U.S.C. § 3553(a) do not support granting

him immediate release, his Motion3 is DENIED in part. However, Mr. Cabibi was not given

credit for his time in custody from his initial appearance through his sentencing in this case. Such

credit was recommended by the government and intended to be accounted for when Mr. Cabibi’s




1
    Motion for Compassionate Release (“Motion”), docket no. 101, filed Mar. 25, 2021.
2
 United States’ Opposition to Defendant’s Emergency Motion for Compassionate Release and Reduction of
Sentence Under 18 U.S.C. § 3582(c)(1)(A)(i) (“Response”), docket no. 104, filed Apr. 26, 2021; First Step Act
Relief Recommendation (“Recommendation”), docket no. 106-4, filed under seal Apr. 26, 2021.
3
    Docket no. 101, filed Mar. 25, 2021.
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sentence was amended. These circumstances warrant a proportionate reduction of Mr. Cabibi’s

sentence for such time. Therefore, Mr. Cabibi’s Motion 4 is GRANTED in part.

           Additionally, pursuant to General Order 20-019, Assistant Federal Defender Tessa M.

Hansen was added as counsel for Mr. Cabibi for purposes of his Motion. Ms. Hansen

subsequently filed a Motion to Withdraw as Counsel. 5 Because Mr. Cabibi’s Motion is now

determined, Ms. Hansen’s Motion to Withdraw as Counsel is GRANTED.

                                                  DISCUSSION

                                  Mr. Cabibi’s Motion is procedurally proper

           “The First Step Act . . . modified 18 U.S.C. § 3582(c) to allow a defendant federal

prisoner to file [a] motion [for compassionate release or a sentence modification] with the court

him or herself.” 6 However, to file such a motion, a defendant must have “fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons [(“BOP”)] to bring a motion on

the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden of

the defendant’s facility, whichever is earlier.” 7

           Mr. Cabibi submitted a request for relief under the First Step Act to the warden at FCI

Pollock, which the warden denied on January 27, 2021. 8 He filed his Motion approximately two

months later on March 25, 2021. 9 Therefore, Mr. Cabibi’s Motion is procedurally proper, and its

merits may be addressed. 10


4
    Id.
5
    Docket no. 103, filed Apr. 2, 2021.
6
 United States v. Williams, No. 2:17-cr-00417-DAK, 2020 WL 806026, *1 (D. Utah Feb. 18, 2020) (citing 18
U.S.C. § 3582(c)(1)(A); United States v. Willis, 382 F. Supp. 3d 1185, 1187 (D. N.M. 2019)).
7
    18 U.S.C. § 3582(c)(1)(A) (emphasis added).
8
    Motion at 2; Request for Compassionate Release/Reduction in Sentence, docket no. 101-1, filed Mar. 25, 2021.
9
    Motion.
10
     18 U.S.C. § 3582(c)(1)(A).



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                              Mr. Cabibi is not entitled to immediate release
                               but is entitled to a reduction in his sentence

            Under the plain language of 18 U.S.C. § 3582(c)(1)(A)(i), a motion for compassionate

release or a reduced sentence may be granted only if three requirements are met:

(1) extraordinary and compelling reasons warrant relief; (2) relief is consistent with applicable

policy statements issued by the United States Sentencing Commission (“USSC”); and (3) the

district court considers the factors set for in 18 U.S.C.§ 3553(a), to the extent that they are

applicable. 11

Mr. Cabibi fails to demonstrate extraordinary and compelling reasons to warrant his
immediate release, but his circumstances warrant a reduction in his sentence

            District courts “possess the authority to determine for themselves what constitutes

‘extraordinary and compelling reasons,’” to warrant compassionate release. 12 However, this

discretion is “bounded by the requirement . . . that a reduction in sentence be consistent with

applicable policy statements issued by the [USSC].” 13

            Mr. Cabibi argues that extraordinary and compelling reasons warrant compassionate

release or a reduced sentence based on the conditions caused by the COVID-19 pandemic, his

family circumstances, and because he was not given time credit or concurrent sentencing for a

state court sentence. 14 Whether considered individually or collectively, Mr. Cabibi’s

circumstances do not constitute extraordinary and compelling reasons to warrant his immediate

release. However, the circumstances that led to Mr. Cabibi not receiving credit for his time in



11
     United States v. Maumau, 993 F.3d 821, 831 (10th Cir. 2021).
12
     Id. at 832.
13
  Id. The USSC has defined “extraordinary and compelling reasons” to include serious medical conditions, the
defendant’s age, and certain family circumstances. U.S.S.G. 1B1.13. However, this policy statement is not
applicable to Mr. Cabibi’s Motion. Maumau, 993 F.3d at 837.
14
     Motion at 4-8.



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custody from his initial appearance through his sentencing in this case warrant a reduction in his

sentence.

           Mr. Cabibi is 40 years old and suffers from a heart arrythmia, gastro-esophageal reflux

disease with esophagitis, and high blood pressure. 15 His BOP Medical Records reflect that he

regularly and consistently receives treatment and medication for his conditions. 16 And Mr.

Cabibi does not assert that his health conditions rise to the level of imminent death or that they

prevent him from performing self-care while incarcerated. On this record, Mr. Cabibi’s health

does not constitute an extraordinary and compelling reason to warrant his immediate release or a

reduction of sentence.

           Mr. Cabibi also argues that the conditions caused by the COVID-19 pandemic warrant

relief. 17 Specifically, Mr. Cabibi asserts that he is at high-risk of suffering serious complications

or death if he contracts COVID-19, and that the modified operations at FCI Pollock (i.e., reduced

outside recreation time and suspended rehabilitation programing) have negatively impacted his

physical and mental well-being. 18 Mr. Cabibi’s heart condition does place him in the high-risk

category of suffering serious complications or death if he contracts COVID-19. 19 However,

approximately two month prior to filing his Motion, Mr. Cabibi contracted COVID-19. 20 His

symptoms progressed to having cough, shortness of breath, fatigue, body aches, and other


15
  First Step Act Relief Eligibility Report at 2, docket no. 106, filed under seal Apr. 26, 2021; BOP Medical
Records, docket no. 106-2, filed under seal Apr. 26, 2021. Mr. Cabibi also asserts that he suffers from nonrheumatic
aortic, mitral, and tricuspid valve disorder and shortness of breath. Reply at 2, docket no. 108, filed May 28, 2021.
These additional conditions do not change that Mr. Cabibi fails to demonstrate extraordinary and compelling reasons
to warrant compassionate release.
16
     BOP Medical Records.
17
     Motion at 5-12.
18
     Motion at 4-6.
19
  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html (last
visited Sept. 30, 2021).
20
     Motion at 5; Report ¶ 10 at 4.



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symptoms.21 But he fully recovered and has now received both doses of the Pfizer COVID-19

vaccine. 22

           Current CDC guidance states that COVID-19 vaccines are effective at protecting

individuals from getting sick, and that fully vaccinated individuals can resume activities without

wearing a mask or social distancing. 23 There is also only the potential that Mr. Cabibi may

contract COVID-19 again despite being fully vaccinated. This potential exists whether Mr.

Cabibi remains in custody or is granted compassionate release.

           It is unfortunate that the COVID-19 pandemic has caused the BOP to institute modified

operating procedures that limit outside recreation and rehabilitation programming for inmates. 24

But these conditions are present for all federal inmates. And Mr. Cabibi has not presented

sufficient evidence or argument suggesting that the modified operating procedures have had a

particularly negative impact on his physical and mental well-being. Regardless, the modified

operating procedures are temporary. Just as cities and states have begun lifting social distancing

and mask requirements, so too will the BOP lift the restrictions put in place by its modified

operating procedures. On this record, the conditions caused by the COVID-19 pandemic do not

constitute an extraordinary and compelling reason to warrant Mr. Cabibi’s immediate release or a

reduction of his sentence.

           Mr. Cabibi next argues that his family circumstances warrant compassionate release or a

reduction of his sentence. Mr. Cabibi asserts that the mother of his 10-year-old daughter was




21
     Report ¶ 10 at 4; BOP Medical Records.
22
     Report ¶ 10 at 4; BOP Medical Records.
23
     https://www.cdc.gov/coronavirus/2019-ncov/vaccines/fully-vaccinated.html (last visited June 23, 2021).
24
     https://www.bop.gov/coronavirus/ (last visited June 23, 2021).



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hospitalized due to COVID-19, leaving his daughter without anyone to care for her. 25 However,

Mr. Cabibi provides no evidence to substantiate this assertion, and he proposes no plan for

residence, employment, or how he would care for his daughter if he were granted relief. On this

record, Mr. Cabibi’s family circumstances do not constitute an extraordinary and compelling

reason to warrant compassionate release or a reduction of sentence. This issue also appears to be

moot based on the assertion in Mr. Cabibi’s Reply that “the mother of his daughter had been

hospitalized due to COVID-19.” 26

            Finally, Mr. Cabibi argues that extraordinary and compelling circumstances exist because

he was not given time credit or concurrent sentencing for a state court sentence. 27 Mr. Cabibi

asserts that had he given the time credit or concurrent sentencing, he would have already served

the 10-year minimum mandatory for his convictions in this case. 28 And he argues that his

rehabilitative efforts during his incarceration justify his immediate release or a reduced

sentence. 29

            Mr. Cabibi pleaded guilty to one count of Assault on a Federal Officer, one count of

Discharging a Firearm During a Crime of Violence, and one count of Possession of a Firearm by

a Convicted Felon. 30 The offense conduct stemmed from members of a Joint Criminal

Apprehension Team attempting to apprehend Mr. Cabibi on a parole violation warrant at his

apartment. 31 During the encounter, Mr. Cabibi shot and seriously wounded an officer on the



25
     Motion at 6; Reply at 3.
26
     Reply at 3.
27
     Id. at 3-5; Motion at 6-8.
28
     Motion at 6-8; Reply at 3-5.
29
     Motion at 6-8; Reply at 3-5.
30
     Amended Judgment in a Criminal Case (“Judgment”) at 1, docket no. 96, filed May 17, 2013.
31
     Presentence Investigation Report ¶¶ 7-19 at 2-4, docket no. 105-3, filed under seal Apr. 26, 2021.



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apprehension team. 32 And at the time, Mr. Cabibi was on parole for a manslaughter conviction. 33

In pleading guilty, Mr. Cabibi agreed to a 240-month term of incarceration in exchange for the

dismissal of other charges. 34 He was sentenced to terms of incarceration consistent with his plea

agreement and a 60-month term of supervised release. 35 As of the filing of his Motion, Mr.

Cabibi has served approximately 59 months (~25%) of his 240-month prison sentence. 36 He has

a projected release date of September 5, 2033. 37

            The serious nature of Mr. Cabibi’s offenses and his stipulation that a 240-month prison

sentence was reasonable do not support a finding of extraordinary and compelling reasons to

warrant immediate release or a reduction of his sentence. Additionally, when Mr. Cabibi was

sentenced, the state sentence for which he seeks a time credit and concurrent sentencing had not

yet been imposed. Authority was lacking to calculate a time credit at that time, 38 and “[m]ultiple

terms of imprisonment imposed at different times run consecutively unless the court orders that

the terms are to run concurrently.” 39 The record is silent regarding concurrent sentencing for Mr.

Cabibi. 40




32
     Id.
33
     Id.; Recommendation.
34
   Statement by Defendant in Advance of Plea of Guilty Pursuant to Fed. R. Civ. P. 11(c)(1)(C) ¶ 12.C at 5-6, docket
no. 77, filed July 3, 2012.
35
     Judgment at 2-3.
36
     Report ¶ 3 at 3.
37
     Id.
38
  United States v. Gardner, 601 Fed. App’x 717, 721 (10th Cir. 2015) (citing United States v. Wilson, 503 U.S. 329,
333-335 (1992)).
39
     18 U.S.C. § 3584(a).
40
     Sentencing Hearing Transcript, docket no. 94-2, filed May 2, 2013.



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            Mr. Cabibi has held work assignments as an orderly and in the laundry while

incarcerated. 41 He has also completed classes in parenting, wellness, healthy lifestyles, drug

education. 42 This is commendable. However, Mr. Cabibi has also had disciplinary infractions for

“giving/accepting money without authorization,” “phone abuse,” possessing a dangerous

weapon,” and “introduction of drugs or alcohol.” 43 These infractions greatly counter Mr.

Cabibi’s assertions regarding his rehabilitation. On this record, Mr. Cabibi has not demonstrated

that not receiving time credit or concurrent sentencing for his state court sentence constitute

extraordinary and compelling reasons to warrant his immediate release or a reduced sentence.

            Nevertheless, other circumstances do constitute extraordinary and compelling reasons to

warrant a proportionate reduction in Mr. Cabibi’s sentence. On May 2, 2013, the government

filed a motion seeking clarification of Mr. Cabibi’s sentence. 44 The government indicated that it

had received a letter from Mr. Cabibi requesting credit for the time he spent in federal custody

prior to his sentencing. 45 And the government affirmatively recommended that Mr. Cabibi

receive credit “for any time he served in federal custody prior to the imposition of his sentence

on October 1, 2012.” 46 The government’s Motion to Clarify was granted. 47 And an amended

judgment entered on May 17, 2013, which imposed a 240-month term of incarceration “with

credit for time served from time in custody prior to sentencing.” 48



41
     Report ¶ 15 at 5.
42
     Id.
43
     Id. ¶ 16 at 5.
44
  Motion to Clarify Credit for Time Served and Government Position Re: Consecutive or Concurrent Sentence
(“Motion to Clarify”), docket no. 94, filed May 2, 2013.
45
     Id. at 1, Letter from Defendant, docket no. 94-1, filed May 2, 2013.
46
     Motion to Clarify at 2.
47
     Docket Text Order, docket no. 95, filed May 16, 2013.
48
     Judgment at 2.



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           The intent behind the amended language in the Judgment was to reduce Mr. Cabibi’s

240-term of incarceration by the amount of time he was in custody from his initial appearance

through his sentencing. However, because the BOP has the authority to calculate such time

credits (not the district court), 49 the amended language did not have its intended effect. These

circumstances constitute extraordinary and compelling reasons to warrant a reduction in Mr.

Cabibi’s sentence to account for what was intended.

           Mr. Cabibi’s initial appearance in this case was held on December 20, 2010. 50 At the

initial appearance, Mr. Cabibi elected to remain in federal custody, and he was detained and

remanded to the United States Marshal’s Service (“USMS”) pending resolution of the case. 51

Mr. Cabibi then remained in the custody of the USMS through his sentencing on September 28,

2012. 52 Therefore, consistent with the government’s recommendation 53 and the intent of the

amended language in the Judgment, 54 Mr. Cabibi’s 240-month term of incarceration will be

reduced by 21 months and 8 days (i.e., the amount of time between his December 20, 2010 initial

appearance and his September 28, 2012 sentencing). His properly calculated sentence is 218

months and 23 days.

The relevant factor of 18 U.S.C. § 3553(a) do not support granting Mr. Cabibi immediate
release, but are not prohibitive of the reduction in his sentence

           Even if Mr. Cabibi’s had demonstrated extraordinary and compelling reasons to warrant

his immediate release, the serious nature of Mr. Cabibi’s convictions, his extensive criminal



49
     Gardner, 601 Fed. App’x at 721 (citing Wilson, 503 U.S. at 333-335).
50
     Minute Entry for Proceedings Held Before Magistrate Judge Paul M. Warner, docket no. 8, filed Dec. 20, 2010.
51
     Id.
52
     Minute Entry for Proceedings Held Before District Judge David Nuffer, docket no. 81, filed Sept. 28, 2012.
53
     Motion to Clarify at 2.
54
     Judgment at 2.



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history, the appropriateness of his stipulated sentence, and the need to protect the public from

further crimes weigh heavily against granting immediate release. And on balance, the relevant

factors of 18 U.S.C. § 3553(a), do not support granting Mr. Cabibi immediate release. However,

the balance of the relevant factors is not prohibitive of Mr. Cabibi receiving a proportionate

reduction of his sentence for his time in custody from his initial appearance through his

sentencing in this case. This is particularly true given the government’s recommendation that he

receive credit for this time against his sentence and that such a reduction was intended when his

sentence was amended. 55

                                              ORDER

                    THEREFORE, IT IS HEREBY ORDERED that Mr. Cabibi’s Motion 56 is

DENIED in part as to his request for immediate release. However, Mr. Cabibi’s Motion 57 is

GRANTED in part as to his request for a reduction in his sentence. Mr. Cabibi’s 240-month term

of incarceration is reduced by 21 months and 8 days to account for his time in custody from his

initial appearance through his sentencing in this case. His properly calculated sentence is 218

months and 23 days.




55
     Motion to Clarify at 2; Judgment at 2.
56
     Docket no. 101, filed Mar. 25, 2021.
57
     Id.



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           IT IS FURTHER ORDERED that Ms. Hansen’s Motion to Withdraw as Counsel 58 is

GRANTED. Assistant Federal Defender Tessa M. Hansen is withdrawn as counsel for Mr.

Cabibi.

           Signed October 5, 2021.

                                            BY THE COURT


                                            ________________________________________
                                            David Nuffer
                                            United States District Judge




58
     Docket no. 103, filed Apr. 2, 2021.



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